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                                                                         8                      IN THE UNITED STATES DISTRICT COURT
                                                                         9                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                         10
                                                                         11
United States District Court




                                                                              UNITED STATES OF AMERICA,                    No     CR-98-0070 VRW
                               For the Northern District of California




                                                                         12              Plaintiff,                               ORDER
                                                                         13              v
                                                                         14   HOWARD M VOGEL,
                                                                         15              Defendant.
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                                                                         17              Defendant filed an application for bail pending the
                                                                         18   court’s decision on defendant’s motion for a new trial.                 Doc #447.
                                                                         19   The court has since issued an order denying defendant’s new trial
                                                                         20   motion.   Doc #448.      Accordingly, the court DENIES AS MOOT
                                                                         21   defendant’s application for bail.
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                                                                         23              IT IS SO ORDERED.
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                                                                         26                                       VAUGHN R WALKER
                                                                         27                                       United States District Chief Judge

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